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                STATE BAR OF TEXAS


Office of the Chief Disciplinary Counsel

May 20, 2024



Re: Mr. Ryan Withington Gertz, State Bar Number 24048489


To Whom It May Concern:

This is to certify that Mr. Ryan Withington Gertz was licensed to practice law in Texas on May 05,
2005, and is an active member in good standing with the State Bar of Texas. "Good standing" means
that the attorney is current on payment of Bar dues; has met Minimum Continuing Legal Education
requirements; and is not presently under either administrative or disciplinary suspension from the
practice of law.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.


Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




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